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                             No. 22-5328


          IN THE UNITED STATES COURT OF APPEALS
           FOR THE DISTRICT OF COLUMBIA CIRCUIT
                    _______________________

              ATTORNEY GENERAL OF THE UNITED STATES,
                                 Plaintiff-Appellant,
                                  v.
                          STEPHEN A. WYNN,
                                Defendant-Appellee.
                       _______________________

           On Appeal from the United States District Court
                    for the District of Columbia
                      _______________________

               PETITION FOR REHEARING EN BANC
                      _______________________
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                              STATEMENT

     Section 612(a) of the Foreign Agents Registration Act (FARA)

requires an agent of a foreign principal to register with the Attorney

General. See 22 U.S.C. § 612(a). The provision goes on to state:

     The obligation of an agent of a foreign principal to file a
     registration statement shall, after the tenth day of his
     becoming such agent, continue from day to day, and
     termination of such status shall not relieve such agent from
     his obligation to file a registration statement for the period
     during which he was an agent of a foreign principal.

Id. This appeal presents a question of exceptional importance: Whether

a foreign agent who fails to register under FARA is relieved of the

obligation to register merely because he has ceased acting as an agent.

     Every judge to have interpreted Section 612(a) has agreed that its

“more natural reading” is that it imposes a continuing obligation on

unregistered foreign agents to remedy their failure to comply with the

statute. See United States v. McGoff, 831 F.2d 1071, 1083 (D.C. Cir.

1987); id. at 1100 (Bork, J., dissenting); Attorney General v. Wynn, 636

F. Supp. 3d 96, 102-03 (D.D.C. 2022). Yet, a divided panel in McGoff

adopted the opposite reading, see 831 F.2d at 1082, and the panel here

extended that holding to the civil context, see slip op. 6. Thus, in this


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Circuit, “termination of such status shall not relieve such agent from

his obligation to file a registration statement” at that point in time. See

McGoff, 831 F.2d at 1082; see also id. at 1101 (“[R]emoval of the word

‘not’ from the statute would give the [interpretation the McGoff

majority adopts].”) (Bork, J., dissenting). The panel decision here both

repeatedly noted that it was bound by this interpretation of FARA, slip

op. 5, 11, and relied on it to reject the government’s proposed

interpretation of FARA’s civil enforcement mechanism, 22 U.S.C.

§ 618(f), see slip op. 10. Nonetheless, the panel did not attempt to

defend the interpretation of FARA’s registration obligation adopted in

McGoff. This Court should grant rehearing en banc to correct McGoff’s

erroneous interpretation of FARA’s registration obligation.

     McGoff addressed the criminal statute of limitations for FARA

violations, but this case shows its effects are far broader. As the panel

held, McGoff leaves the government no civil recourse against foreign

agents whose activities are discovered by the government after their

completion or who cease their activities before the government can

bring an enforcement action. Such an interpretation creates a strong

incentive toward non-disclosure, as foreign agents can simply cease
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their conduct if challenged by the government. Moreover, it does so in

the Circuit home to the seat of government and a substantial amount of

FARA-regulated activity.

     Respectfully, McGoff was wrongly decided and creates outsized

problems for the government’s efforts to ensure appropriate disclosure

of foreign influence in our governing process. This case presents a

question of exceptional importance warranting en banc review. See Fed.

R. App. P. 35(b).

                              BACKGROUND

     Although grounded in a particular FARA civil enforcement action,

this appeal presents solely legal questions of statutory interpretation.

The government’s complaint alleges that Stephen Wynn acted as an

agent of the People’s Republic of China for several months in 2017.

Wynn never registered under FARA, and the government later sued

under FARA’s civil enforcement provision, 22 U.S.C. § 618(f), to compel

him to do so. Throughout this litigation, the parties have disputed

whether FARA permits the government to compel Wynn to file the

required registration statement covering the period during which he

acted as an agent of China.
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     The district court granted Wynn’s motion to dismiss, holding that

it was bound by McGoff’s conclusion that Wynn’s obligation to register

ended the moment Wynn ceased to act as an agent of China. Wynn, 636

F. Supp. 3d at 103. The panel affirmed, likewise concluding that

McGoff’s status as binding precedent resolved the appeal and foreclosed

the government’s interpretation of FARA’s civil enforcement

mechanism. Slip op. 5, 11.

           REASONS FOR GRANTING THE PETITION

     The panel’s decision, combined with McGoff’s broad holding, has

significant adverse consequences for the government’s ability to enforce

the Foreign Agents Registration Act. McGoff addressed the statute of

limitations for a criminal FARA violation and held that it begins to run

when an individual stops acting as an agent of a foreign principal. See

831 F.2d at 1071. This was so, the majority reasoned, because “the

statutory obligation to file expires when the agent ceases activities on

behalf of the foreign principal.” Id. at 1082. The panel here extended

this holding to the government’s efforts to enforce FARA civilly and held

that no civil suit can compel a former foreign agent to remedy his or her

failure to file. See slip op. 5. Without further review, the government
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will be powerless to compel foreign agents to provide important national

security information in any case where, due to the agent’s failure to file,

the government either does not learn about the relationship until it has

ceased or the agent terminates the relationship when the government

discovers it. Congress instructed in FARA that this information must be

disclosed, and the information often retains importance even when the

agency relationship has concluded. This Court’s en banc review is

necessary to restore the government’s ability to require foreign agents

to disclose their efforts to influence U.S. policy on behalf of foreign

governments and other foreign actors.

     A.    McGoff’s Reasoning Is Flawed.

     The McGoff majority opinion reached its result through reasoning

that is fundamentally flawed. The panel, faced with what it saw as

binding circuit precedent, had no occasion to defend it. In interpreting

the statutory language that is also at issue here, McGoff erred in

ignoring the plain text of FARA’s registration requirement. It then

compounded that problem by ignoring the history and purpose of FARA.

     FARA includes explicit language about the duration of a foreign

agent’s registration obligation:

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     The obligation of an agent of a foreign principal to file a
     registration statement shall, after the tenth day of his
     becoming such agent, continue from day to day, and
     termination of such status shall not relieve such agent from
     his obligation to file a registration statement for the period
     during which he was an agent of a foreign principal.

22 U.S.C. § 612(a).

     Read most naturally, this language directly anticipates, and

rejects, the claim that an agent is no longer required to register once the

agent has ceased acting as such. It states that ceasing to act as a

foreign agent (“termination of such status”) “shall not relieve” an

individual of the “obligation to file a registration statement for the

period during which he was an agent.” In other words, an agent cannot

avoid the registration requirement that Congress imposed merely by

ceasing his conduct once he has been discovered, or by only acting as an

agent for a short time.

     This reading flows from a straightforward application of the

nearest-reasonable-referent canon of statutory interpretation. See

Grecian Magnesite Mining, Indus. & Shipping Co. v. Comm’r, 926 F.3d

819, 824 (D.C. Cir. 2019) (“[O]rdinarily, and within reason, modifiers

and qualifying phrases attach to the terms that are nearest.”). Here,


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that canon dictates that the phrase “for the period during which he was

an agent of a foreign principal” in Section 612(a) modifies the term

immediately preceding it, “registration statement.” McGoff, however,

adopted an alternative reading under which the phrase reaches farther

back in the sentence to modify “obligation” rather than “statement.” See

McGoff, 831 F.2d at 1083. This is contrary to the rule that where “the

nearest referent is also a reasonable one, there is no basis for reading

the limiting phrase to modify other, more-distant language.” City of

Salisbury v. FERC, 36 F.4th 1164, 1169 (D.C. Cir. 2022).

      McGoff’s reading also contradicts Section 612(a)’s history.

Congress added the sentence at issue in 1950 specifically “to remove

any doubt as to the liability of an agent to file a registration statement

for the period in which he was acting as an agent and thereafter has

ceased such activity.” See McGoff, 831 F.2d at 1087 (quoting H.R. Rep.

No. 81-1775, at 1). McGoff’s holding, however, renders this statutory

change essentially meaningless. The McGoff majority speculated that

Congress used this language to foreclose an argument that ceasing to

act as a foreign agent would be an affirmative defense to a criminal

charge, but “[n]o criminal statute works this way.” Id. at 1101 (Bork, J.,
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dissenting). Rather, Congress added the language to clarify that,

contrary to McGoff, a former foreign agent nonetheless remains

obligated to remedy his prior failure to register as the statute requires.

      As a textual matter, the McGoff majority rejected this “more

natural reading” of the statute, believing it “would . . . render

redundant the entire, thirteen-word phrase” that concludes the

disputed the sentence. See 831 F.2d at 1083. The majority reasoned that

“[a] FARA-required registration statement can, in logic, relate to no

period other than ‘the period during which’ the individual acted as an

agent,” and therefore this modifier was unnecessary. Id. But this is

simply not true, as Congress could choose to require the reporting of

information from other periods of time in order to put the agent’s

activities in context. Furthermore, the language not only clarifies that

the statement need not address matters after the period of foreign

agency ends, but also clarifies that the registration statement must

cover the entire period of agency and does not exclude the initial ten-

day registration period. The McGoff majority’s concerns about

surplusage are therefore unfounded.



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      In deciding this case, however, the Court need not decide whether

McGoff was correct in its ultimate holding—that the statute of

limitations for a criminal FARA offense begins to run at the time an

individual ceases to act as an agent of a foreign principal. See Gov’t Br.

37-38 (“[T]he government accepts for purposes of this case McGoff’s

ultimate holding regarding when the statute of limitations for a

criminal FARA violation begins to run.”). That conclusion, even if

correct, need not have been based on McGoff’s atextual reading of

Section 612(a). Rather, the result in McGoff could have been based on a

closer analysis of the language of Sections 618(a) and 618(e), which

define the criminal offense. McGoff could have read the phrase “as long

as such failure exists” in Section 618(e), especially given its criminal

context, to encompass only the time during which an individual is

acting as an agent.1 Had McGoff done so, it would have reached the

same result without misreading Section 612(a), which governs both civil




      1 Such a reading could be supported by the differing language

used in Section 618(e), which defines the continuing criminal offense as
a “failure to file,” and Section 612(a), which refers instead to an
“obligation to file.”
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and criminal violations. This would have avoided gutting FARA’s civil

enforcement mechanism, which was not before the Court in that case.

      The extension of McGoff’s reasoning to the context of this civil

case further illustrates the errors in McGoff’s reasoning. Like other

regulatory regimes, FARA provides an injunctive remedy that is largely

reparative. See, e.g., 42 U.S.C. § 9606(a) (authorizing injunctions to

require responsible parties to clean up certain sites of spilled pollution);

52 U.S.C. § 30109(a)(6) (authorizing injunctions against past election

law violations); S.E.C. v. Research Resources, Inc., No. 85-CIV-3530,

1986 WL 11446, at *4 (S.D.N.Y. Oct. 8, 1986) (explaining that, even

where required forms and reports “deal[] with information no longer

relevant about business no longer existing,” the court “may properly

issue mandatory injunctions requiring defendants to file their

delinquent reports and . . . correct its misleading Form 8-K”). After all,

FARA violations almost always occur because an individual has already

acted as an agent without registering, as the government alleges

happened here. That bell of undisclosed foreign influence cannot be

unrung, but FARA provides the government a means to compel later

disclosure to provide the public with the information to which it was
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always entitled and that often retains its national security relevance.

Whether that reparative action comes before or after an individual has

ceased acting as a foreign agent is irrelevant, and McGoff erred in

reading Section 612(a) to embody such a distinction.2

      As the panel applied McGoff, the government’s ability to

criminally prosecute an unregistered foreign agent bizarrely persists

long after its ability to civilly enforce FARA’s registration requirements

through a suit such as this one. Accordingly, regardless of whether

McGoff’s ultimate conclusion about the criminal statute of limitations is

correct, en banc review is necessary to correct McGoff’s mistaken

interpretation of the ongoing registration requirement set out in Section

612(a) and the panel’s mistaken holding that civil enforcement is

barred.




      2 Moreover, in light of the reparative nature of FARA’s civil

remedy, even if McGoff’s reading of Section 612(a) were correct, Section
618(f)’s civil remedy is reasonably read to allow suits against
unregistered foreign agents even after they have ceased acting as such.
See Gov’t Br. 17-29.
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     B.    FARA Is a Critical Tool To Protect Our Democracy

      FARA was enacted “to protect the national defense, internal

security, and foreign relations of the United States.” Meese v. Keene, 481

U.S. 465, 469 (1987) (quoting Act of April 29, 1942, Pub. L. No. 77-532,

56 Stat. 248, 248). It does so by requiring foreign agents to register

publicly “so that the Government and the people of the United States

may be informed of the identity of such persons and may appraise their

statements and actions in the light of their associations and activities.”

Id. (quoting 56 Stat. 249). These disclosure requirements serve a critical

role in protecting our democracy while preserving the bedrock principle

of freedom of speech. Under FARA, foreign governments and entities

may attempt to influence our government’s policies through agents in

this country, but their agents must act openly as such.

      McGoff’s holding upsets this delicate balance. See United States v.

Cordova, 806 F.3d 1085, 1099 (D.C. Cir. 2015) (“We must avoid an

interpretation that undermines congressional purpose considered as a

whole when alternative interpretations consistent with the legislative

purpose are available.” (internal quotation marks omitted)). Under the

panel’s decision, the government has no ability to enforce FARA, short

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of criminal prosecution, against foreign agents who act for a short time,

who hide their activities, or who cease their activities before the

government can mount a civil enforcement action. But the mere fact

that a foreign agent’s activities are completed does not alter the

importance of registration. See McGoff, 831 F.2d at 1099 (“Cessation of

agency does not eliminate the evil the Act seeks to remedy, which is the

failure to disclose; only disclosure itself, i.e., registration, puts an end to

that evil.”) (Bork, J., dissenting); see also Wynn, 636 F. Supp. 3d at 107

(“[E]ven agents who have since ended their agency relationship but who

never registered their activities are still in possession of ‘information

that [FARA] says the public needs.’”) (quoting McGoff, 831 F.2d at 1099

(Bork, J., dissenting)). Many statements that a foreign agent makes will

persist and affect public discourse in the United States well beyond the

termination of the agency relationship. After-the-fact registration also

allows the victims of undisclosed foreign influence to potentially take

corrective actions. By creating a loophole through which foreign agents,

especially those engaged in short-term activities, may decline to register

without civil consequence, McGoff’s reading of Section 612(a)



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dramatically curtails the information available to the United States and

its people regarding foreign efforts to exert influence in our country.

     C.    McGoff’s Errors Have Broader Detrimental Effects.

      Had McGoff reached its conclusion through an interpretation of

FARA’s criminal provisions, 22 U.S.C. §§ 618(a), (e), its impact would be

limited to those circumstances where the government chose to employ

the “howitzer” of criminal prosecution to enforce FARA. See McGoff, 831

F.2d at 1094. The panel here held, however, that, by narrowly

interpreting Section 612(a), McGoff also eviscerated the government’s

ability to civilly enforce FARA. Moreover, McGoff’s erroneous

interpretation of Section 612(a) now governs in the Circuit where a

substantial amount of FARA-regulated activity occurs, and other courts

may defer to this Court’s interpretations of FARA, as they often do for

other laws regulating governmental activity. These wide-ranging and

detrimental effects on the government’s ability to combat foreign efforts

to influence our government cry out for correction.




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           1. McGoff Precludes Nearly All Civil Enforcement of
              FARA.

      McGoff most directly limited the time in which the government

can prosecute willful violations of FARA, but as Judge Bork recognized,

its impacts for civil enforcement actions are far greater. As a practical

matter, McGoff’s holding precludes nearly all civil enforcement of

FARA.

      In 1966, Congress added the civil enforcement mechanism, 22

U.S.C. § 618(f), to FARA “because the pre-existing criminal sanctions

were thought too harsh for the sort of activities that were prescribed by

the statute.” McGoff, 831 F.2d at 1075 n.12. While FARA’s criminal

penalties are limited to willful violations, civil enforcement suits are

available “[w]henever . . . any person is engaged in or about to engage in

any acts which constitute or will constitute a violation of any provision

of [FARA]” and “whenever any agent of a foreign principal fails to

comply with any of the provisions of [FARA].” 22 U.S.C. § 618(f). The

government argued to the panel here that these two provisions should

be given independent meaning by applying to imminent and current

agents, and to former agents, respectively. The panel, however, held


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that McGoff foreclosed such an interpretation. Slip op. 11 (“The

government’s interpretation would make Section 612(a)’s registration

obligation perpetual, which is a proposition that McGoff explicitly

rejected.”). While the McGoff majority purported to leave this question

open, see 831 F.2d at 1094 n.32 (merely “assuming arguendo” the

decision foreclosed civil enforcement in these circumstances), the

panel’s holding here confirmed Judge Bork’s understanding of the

startling impact of McGoff’s reasoning: “[T]he civil injunctive remedy

available to the United States . . . now will be unavailable to compel

anyone to file a registration statement once his agency has ended.” Id.

at 1103 (Bork, J., dissenting).

      From a practical perspective, this forecloses nearly all civil

enforcement actions under FARA. In the absence of a criminal

investigation, the government lacks compulsory tools for investigating

FARA compliance. Instead, it typically asks individuals to voluntarily

provide information about their activities in relation to a foreign

principal. See Frequently Asked Questions, FARA Unit, U.S. Dep’t of

Justice, https://www.justice.gov/nsd-fara/frequently-asked-questions

(“What is a Letter of Inquiry?”) (last visited September 26, 2024). That
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was the course leading up to this suit. See Wynn, 636 F. Supp. 3d at

100. But the open, voluntary nature of these investigations also

provides unregistered agents ample opportunity to simply cease their

conduct, thereby cutting off the government’s ability to compel their

registration under the panel’s holding.

      The result is a statute whose enforcement mechanisms are

incoherent. The “howitzer” of criminal prosecution remains available for

five years after agency ends, while the “fly swat” of a civil enforcement

suit disappears as soon as a foreign agent elects to cease his activities.

See McGoff, 831 F.2d at 1103 n.9 (Bork, J., dissenting). In cases where

willfulness cannot be proved beyond a reasonable doubt, the

combination of McGoff and the panel’s holding here means that the

government has no method to secure the important information FARA

requires be made available to the government and the public.

           2. The D.C. Circuit’s Interpretations of FARA Have
              Outsized Impact.

      Although FARA has national reach, this Court’s interpretations of

the statute have heightened importance. The District of Columbia is

home to the Executive and Legislative Branches of the federal

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government, and unsurprisingly, a substantial amount of FARA activity

occurs here. The public database of FARA registrants3 reflects that

nearly one-third (32.7%) of all active registered agents are based in this

Circuit. Together, these D.C.-based agents represent more than 1,500

foreign principals. Currently, McGoff limits the government’s ability to

enforce FARA in the Circuit where FARA activity most commonly

occurs.

      Moreover, because FARA activity is concentrated within this

Circuit, other courts may be more willing to defer to this Court’s

interpretation of the statute. While the proper interpretation of FARA

would be a question of exceptional importance in any court, its

importance is even greater in this Court.




      3 See https://efile.fara.gov/ords/fara/f?p=1235:10

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                            CONCLUSION

      For the foregoing reasons, this Court should grant the

government’s petition for rehearing en banc.

                                 Respectfully submitted,

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                                 National Security

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Dated: September 27, 2024




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                  CERTIFICATE OF COMPLIANCE
      I hereby certify that the foregoing brief complies with the 3,900-

word limit of Fed. R. App. P. 35(b)(2)(A), and more specifically, contains

3,390 words.

      I further certify that this brief complies with the requirements of

Fed. R. App. P. 32(a)(5) and (a)(6) because it has been prepared in a

proportionally spaced typeface using 14-point Century Schoolbook font.

                                  /s/ Joseph P. Minta
                                  Joseph P. Minta
                                  Attorney for the Attorney General
                                  of the United States




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                     CERTIFICATE OF SERVICE

      I hereby certify that on this 27th day of September 2024, a copy of

the foregoing Petition for Rehearing En Banc was filed electronically.

Notice of this filing will be sent to all parties by operation of the Court’s

electronic filing system. Parties may access this filing through the

Court’s system.



                                   /s/ Joseph P. Minta
                                   Joseph P. Minta
                                   Attorney for the Attorney General
                                   of the United States




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                             ADDENDUM

      Certificate of Parties: The parties to this case are the Attorney

General of the United States, plaintiff-appellant, and Stephen A. Wynn,

defendant-appellee. No amici have entered an appearance in the district

court or in this Court.

      Panel Opinion: A copy of the panel opinion is attached.




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             United States Court of Appeals
                     FOR THE DISTRICT OF COLUMBIA CIRCUIT



            Argued November 14, 2023              Decided June 14, 2024

                                   No. 22-5328

                    ATTORNEY GENERAL OF THE UNITED STATES,
                                 APPELLANT

                                         v.

                                STEPHEN A. WYNN,
                                    APPELLEE


                    Appeal from the United States District Court
                            for the District of Columbia
                                (No. 1:22-cv-01372)



                Joseph P. Minta, Attorney, U.S. Department of Justice,
            argued the cause for appellant. With him on the briefs were
            Matthew G. Olsen, Assistant Attorney General for National
            Security, and Jeffrey M. Smith, Attorney.

                Robert D. Luskin argued the cause for appellee. With him
            on the brief were Reid H. Weingarten, Brian M. Heberlig,
            Bruce C. Bishop, Nicholas P. Silverman, and Leo R. Tsao.

                Before:   HENDERSON, MILLETT, and PILLARD, Circuit
            Judges.
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                Opinion for the Court filed by Circuit Judge MILLETT.

                 MILLETT, Circuit Judge: Federal law requires those
            lobbying American officials on behalf of foreign principals to
            register as foreign agents. The Department of Justice believes
            that Stephen Wynn acted as an unregistered foreign agent for
            the People’s Republic of China in mid-to-late 2017. The
            Department filed suit in federal court to force him to register.
            Because, even accepting the government’s allegations as true,
            Wynn long ago ceased acting as a foreign agent, he has no
            present obligation to register. For that reason, the district court
            properly dismissed the government’s suit for failure to state a
            claim.

                                            I

                                            A

                 The Foreign Agents Registration Act, commonly referred
            to as “FARA,” aims “to protect the national defense, internal
            security, and foreign relations of the United States[.]” Act of
            Apr. 29, 1942, Pub. L. No. 77-532, ch. 263, 56 Stat. 248, 248,
            22 U.S.C. § 611 note (Policy and Purpose of Subchapter).
            FARA does so by requiring that foreign efforts to influence
            United States policy be publicly disclosed and transparent,
            giving decision makers and the public the context needed to
            “appraise the[] statements and actions” of those acting on a
            foreign principal’s behalf. Id. at 249; see United States v.
            McGoff, 831 F.2d 1071, 1074 (D.C. Cir. 1987) (The “core
            notion” of FARA is that “government officials and the public
            generally should be able to identify those who act on behalf of
            a foreign principal.”).

                As relevant here, FARA requires any “agent of a foreign
            principal” to register with the Department of Justice. 22 U.S.C.
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            § 612(a). The Act then defines “agent of a foreign principal”
            as any person who “directly or through any other person * * *
            engages within the United States in political activities for or in
            the interests of [a] foreign principal[.]” Id. § 611(c)(1)(i). The
            definition also includes anyone who “represents the interests of
            [a] foreign principal before any agency or official of the
            Government of the United States[.]” Id. § 611(c)(1)(iv).
            “[F]oreign principal[s]” are foreign governments, persons,
            political parties, and businesses. Id. § 611(b).

                 To enforce FARA, the government may seek, and courts
            may issue, injunctions to prevent persons “from continuing to
            act as an agent of such foreign principal,” or to compel
            “compliance with any appropriate provision of [FARA],”
            including its registration requirement. 22 U.S.C. § 618(f). The
            government can also criminally prosecute willful violations of
            FARA. Id. § 618(a).

                                            B

                 The government’s complaint alleges that, in May 2017, the
            former finance chair of the Republican National Committee,
            Elliot Broidy, met with the now-former Vice Minister for
            Public Security in the People’s Republic of China Sun Lijun,
            foreign national Low Taek Jho, hip-hop artist Prakazrel
            Michel, and businessperson Nickie Lum Davis. On behalf of
            the People’s Republic of China, Sun asked the attendees to
            lobby then-President Trump and his administration to cancel a
            certain Chinese businessperson’s visa or to otherwise remove
            that person from the United States.1

            1
             This background section takes as true the facts alleged in the
            government’s complaint, as we must at the motion to dismiss stage.
            Wright v. Eugene & Agnes E. Meyer Found., 68 F.4th 612, 619 (D.C.
            Cir. 2023).
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                 The next month, Broidy enlisted casino owner and real-
            estate developer Stephen Wynn to help fulfill Sun’s request.
            Wynn agreed and, in the ensuing months, Wynn contacted
            then-President Trump and a number of Trump administration
            officials and advocated for the Chinese businessperson’s
            removal. Wynn raised the issue with administration officials
            and the former President both in person and over the telephone.
            His efforts, however, bore no fruit. In October 2017, Wynn
            informed Sun that he had pressed the issue to the best of his
            ability and that he could not help any further. The government
            does not allege that Wynn engaged in any lobbying on behalf
            of China after that date.

                 In May 2018, Wynn got a letter from the Department of
            Justice advising him to register as a foreign agent. Wynn
            refused, disputing the government’s conclusion that he was
            required to register and requesting that the Department
            reconsider its determination. For four years, Wynn exchanged
            letters with the government over the dispute. He never
            registered under FARA.

                                          C

                 In 2022, the Department of Justice sued Wynn to compel
            compliance with FARA. It asked the district court both to
            declare that he has an obligation under Section 612(a) to
            register as a foreign agent and to issue a permanent injunction
            requiring him to do so.

                 The district court dismissed the complaint for failure to
            state a claim. Attorney General of the United States v. Wynn,
            636 F. Supp. 3d 96, 101, 107 (D.D.C. 2022). The court held
            that, “[b]ecause both parties agree that any [agency]
            relationship between Wynn and the Chinese government ended
            in October 2017,” FARA no longer required him to register.
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            Id. at 101. As such, the court concluded that it could not order
            him to do so. See id. at 101, 107. In so holding, the court relied
            primarily on this court’s decision in United States v. McGoff,
            831 F.2d 1071 (D.C. Cir. 1987), in which we held that the
            Section 612(a) “obligation to file expires when the agent ceases
            activities on behalf of the foreign principal[,]” id. at 1082. See
            id. at 1096.

                                           II

                The district court had jurisdiction under 28 U.S.C. §§ 1331
            and 1345. We have jurisdiction under 28 U.S.C. § 1291.

                 We review the district court’s dismissal under Federal
            Rule of Civil Procedure 12(b)(6) de novo, accepting as true the
            government’s factual allegations and drawing all reasonable
            inferences in the government’s favor. Wright, 68 F.4th at 619.

                                           III

                                            A

                 The central question in this case is whether Wynn has a
            continuing obligation to register under FARA even if he ceased
            his representation of a foreign principal nearly seven years ago.
            Under McGoff, which binds this panel, the answer is plainly
            “no.” See New York–New York, LLC v. NLRB, 676 F.3d 193,
            194–195 (D.C. Cir. 2012) (“We are of course bound by our
            prior panel decision[.]”).

                 In McGoff, this court rejected a failure-to-register
            prosecution under FARA as outside of the general five-year
            statute of limitations for criminal prosecutions set forth in 18
            U.S.C. § 3282. See McGoff, 831 F.2d at 1071–1073. Key to
            that decision was pinpointing when the Section 612(a)
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            registration obligation ended, since that moment is when the
            statute-of-limitations clock starts to run. Id. at 1081–1082
            (“[T]he decisive question in resolving the statute of limitations
            issue * * * turns on the duration of the registration obligation
            of section 612(a).”). McGoff held that Section 612(a)’s
            registration obligation “expires” the day an individual stops
            acting as a foreign agent. Id. at 1082; see id. at 1096.

                  While this case does not implicate the statute of limitations
            for failing to register under FARA, it asks the same question
            that McGoff answered: When does an agent’s obligation to
            register under FARA “expire[]”? 831 F.2d at 1082. McGoff
            was explicit that, under Section 612, “the statutory obligation
            to file expires when the agent ceases activities on behalf of the
            foreign principal.” Id.; see id. at 1096. By the government’s
            own telling, Wynn stopped representing the People’s Republic
            of China by the end of October 2017. See App. 8–9; Wynn, 636
            F. Supp. 3d at 101 (“[B]oth parties agree that any [agency]
            relationship * * * ended in October 2017[.]”). As a result,
            under McGoff, any statutory obligation to register expired at
            that time. See McGoff, 831 F.2d at 1096.

                Because Wynn’s duty to register ended almost seven years
            ago, McGoff dictates that there is no legal basis for the
            government to compel him to register now, and the district
            court properly dismissed the case.

                                            B

                 The government argues that McGoff does not control
            because this is a civil case in which the government seeks only
            an injunction under Section 618(f). That provision authorizes
            the government to apply for an injunction:
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                Whenever * * * any person is engaged in or about to
                engage in any acts which constitute or will constitute
                a violation of any provision of this subchapter, or
                regulations issued thereunder, or whenever any agent
                of a foreign principal fails to comply with any of the
                provisions of this subchapter or the regulations issued
                thereunder, or otherwise is in violation of the
                subchapter[.]

            22 U.S.C. § 618(f). The requested injunction may take the
            form of “an order enjoining such acts or enjoining such person
            from continuing to act as an agent * * * or [of] an order
            requiring compliance with any appropriate [FARA]
            provision[.]” Id.

                In the government’s view, Section 618(f)’s first
            “whenever” clause covers all imminent or ongoing violations
            of FARA, while its second “whenever” clause applies to past,
            completed violations of FARA. Gov’t Opening Br. 20. The
            government argues that, so read, Section 618(f)’s second
            “whenever” clause allows for an injunction to compel
            compliance for past violations. See Gov’t Opening Br. 20.

                 While the government referenced Section 618(f) in its
            district court filings, see App. 198–199, it did not advance
            below the reading of the statutory text that it presses here.
            Before the district court, the government argued that Wynn is
            liable for currently violating Section 612(a)’s “continuing duty
            to register, even if the FARA-registrable conduct has ceased.”
            App. 4; see App. 11. Before us, the government now claims
            that this suit is proper because Wynn previously violated
            Section 612(a) while acting as a foreign agent. See Gov’t
            Opening Br. 18–25.
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                  We will address this argument despite the government’s
            failure to develop it below. See Association of Am. R.R.s v.
            Department of Transp., 821 F.3d 19, 26 (D.C. Cir. 2016) (“The
            matter of what questions may be taken up and resolved for the
            first time on appeal is one left primarily to the discretion of the
            courts of appeals, to be exercised on the facts of individual
            cases.”) (quoting Singleton v. Wulff, 428 U.S. 106, 121 (1976)).
            Whether the government can sue to force foreign agents to
            register after they have stopped acting as foreign agents is a
            “novel, important, and recurring question of federal law” that
            touches on sensitive areas of national security and foreign
            policy. Liff v. Office of Inspector Gen. for Dep’t of Lab., 881
            F.3d 912, 919 (D.C. Cir. 2018) (quotation marks omitted). It
            is also a “threshold question” in FARA litigation that goes to
            “the clear inapplicability of [the] statute.” Id. And it “involves
            a straightforward legal question” that both parties have
            addressed on appeal and the answer to which is compelled by
            binding law. Id. (quotation marks omitted).

                 Turning to the merits, the government’s proffered reading
            of Section 618(f) does not hold up. On its face, Section 618(f)
            describes both when the government can sue and what it can
            ask for when it does. Both aspects of Section 618(f) foreclose
            the government’s reading.

                 Begin with when Section 618(f) authorizes suit. Under
            Section 618(f), the government can file suit for injunctive relief
            against an individual who, in the present tense, “is engaged in
            or about to engage” in violations, or who “fails to comply” with
            FARA. 22 U.S.C. § 618(f) (emphases added). It does not
            allow suit against an individual who “failed” to comply in the
            past but no longer is under a legal obligation to register.
            Congress’s use of the present tense indicates that it meant to
            refer to present and future acts, not past ones. See Carr v.
            United States, 560 U.S. 438, 447–448 (2010); see also 1 U.S.C.
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            § 1 (“In determining the meaning of any Act of Congress,
            unless the context indicates otherwise[,] * * * words used in
            the present tense include the future as well as the present[.]”).

                 Congress’s use at the end of Section 618(f) of a present-
            tense “otherwise” clause, following a list of present tense
            examples, reconfirms that the statute does not allow injunctions
            for long-ago completed violations. The word “‘[o]therwise’
            means ‘in a different way or manner[.]’” Texas Dep’t of Hous.
            & Cmty. Affs. v. Inclusive Cmtys. Proj., Inc., 576 U.S. 519, 535
            (2015) (quoting WEBSTER’S THIRD NEW INTERNATIONAL
            DICTIONARY 1598 (1971)). By specifying that courts may
            issue injunctions against someone who “otherwise is in
            violation of” FARA, the statute makes clear that the earlier
            clause (“whenever any agent of a foreign principal fails to
            comply with any of the provisions of this subchapter or the
            regulations issued thereunder”) specifies one “way or manner”
            by which a person may presently be “in violation of” FARA.
            22 U.S.C. § 618(f) (emphasis added). If the present tense of
            the “otherwise” clause were not meant to carry back to the prior
            clause, there would have been no reason to include the word
            “otherwise.” See Begay v. United States, 553 U.S. 137, 144
            (2008) (interpreting a general “otherwise” clause as being
            “similar” to examples that preceded it); id. at 151 (Scalia, J.
            concurring) (explaining that Congress can use the word
            “otherwise” to “draw[] a substantive connection between”
            specific and general sets of words).

                Read as an integrated whole, then, Section 618(f)’s
            authorization to sue for an injunction “whenever any agent of
            a foreign principal fails to comply” with FARA refers to
            ongoing or imminent compliance failures, not discontinued
            ones. 22 U.S.C. § 618(f).
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                  As for what types of injunctive relief Section 618(f)
             affords, the statutory text again undermines the government’s
             reading. Section 618(f) allows the government to apply for an
             order (1) “enjoining such [FARA-prohibited] acts[,]” (2)
             enjoining [any] person from continuing to act as an agent of [a]
             foreign principal[,]” or (3) “requiring compliance with any
             appropriate [FARA] provision[.]” 22 U.S.C. § 618(f). Each of
             those remedies addresses only ongoing or imminent FARA
             violations.

                  As such, none of the three forms of Section 618(f)
             injunctive relief applies to Wynn’s situation. Under McGoff,
             Wynn (1) is not engaged in any FARA-prohibited “acts”
             because he is not acting as a foreign agent, (2) is not
             “continuing to act as an agent of [a] foreign principal” because
             he ceased any such activity seven years ago, and (3) is in
             “compliance” with Section 612(a) because, under McGoff, he
             is under no present duty to register, as any such duty expired in
             October 2017. 22 U.S.C. § 618(f).

                  True, McGoff did not specifically address Section 618(f)
             or the registration obligation in the civil context. See 831 F.2d
             at 1094 n.32. But what matters is that McGoff recognized a
             temporal limitation on the duty to register under Section
             612(a). Whether the question arises in the criminal or civil
             context, the answer as to when the Section 612(a) duty to
             register expires must be the same in the absence of any contrary
             statutory directive. See Leocal v. Ashcroft, 543 U.S. 1, 11 n.8
             (2004) (Where a statutory provision has “both criminal and
             noncriminal applications[,] * * * we must interpret the statute
             consistently, whether we encounter its application in a criminal
             or noncriminal context[.]”). The government’s argument that
             Section 618(f) provides for such differentiation ignores that
             provision’s plain, present-tense text.
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                  The government also errs in arguing that our textual
             reading creates redundancy. See Gov’t Opening Br. 19. The
             canon against superfluity does little work here because “the
             text’s meaning is plain.” Mercy Hosp., Inc. v. Azar, 891 F.3d
             1062, 1068 (D.C. Cir. 2018). It also cannot aid the government
             in this case since the government’s alleged non-superfluous
             reading would undermine the statutory scheme as laid out in
             McGoff. Cook Inlet Tribal Council, Inc. v. Dotomain, 10 F.4th
             892, 896 (D.C. Cir. 2021); see Kimble v. Marvel Ent., LLC, 576
             U.S. 446, 456 (2015) (“All our interpretive decisions, in
             whatever way reasoned, effectively become part of the
             statutory scheme[.]”). The government’s interpretation would
             make Section 612(a)’s registration obligation perpetual, which
             is a proposition that McGoff explicitly rejected. See 831 F.2d
             at 1071, 1096. And this panel must hew to McGoff. See United
             States v. Emor, 785 F.3d 671, 682 (D.C. Cir. 2015) (“[W]e
             cannot overrule a prior panel’s decision, except via an Irons
             footnote or en banc review.”).

                                            ***

                  Under binding circuit precedent, any duty Wynn had to
             register as a foreign agent under Section 612(a) ended when his
             alleged representation of a foreign principal terminated.
             Because Section 618(f) allows civil suit to remedy only
             ongoing or imminent Section 612(a) violations, we affirm the
             district court’s dismissal.

                                                                So ordered.
